 8:08-cr-00438-LSC-FG3       Doc # 31    Filed: 01/20/09   Page 1 of 1 - Page ID # 59



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )                    8:08CR438
      vs.                                )
                                         )                      ORDER
ARTHUR L. JOHNSON,                       )
                                         )
                    Defendant.           )



        This matter is before the court on defendant's MOTION TO EXTEND TIME FOR FILING
PRETRIAL MOTIONS [28]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 30-day extension. Pretrial Motions shall
be filed by February 23, 2009.

      IT IS ORDERED:

      1.    Defendant's MOTION TO EXTEND TIME FOR FILING PRETRIAL MOTIONS [28] is
granted. Pretrial motions shall be filed on or before February 23, 2009.

        2.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between January
22, 2009 and February 23, 2009, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

      DATED this 20th day of January, 2009.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
